         Case 5:22-cv-04809-VKD Document 97 Filed 08/29/22 Page 1 of 3




 1   John M. Desmarais (CA SBN 320875)
     DESMARAIS LLP
 2   101 California Street
     San Francisco, California 94111
 3   Tel: (415) 573-1900
     Fax: (415) 573-1901
 4   jdesmarais@desmaraisllp.com
 5   Counsel for Defendants
     Samsung Electronics Co., Ltd. and
 6   Samsung Electronics America, Inc.
 7

 8

 9

10

11

12

13
                               UNITED STATES DISTRICT COURT
14                           NORTHERN DISTRICT OF CALIFORNIA
15

16     LED Wafer Solutions LLC,                     Case No. 5:22-cv-04809-VKD
17                          Plaintiff,              NOTICE OF APPEARANCE
18                    v.
19     Samsung Electronics Co., Ltd.,
       Samsung Electronics America, Inc.,
20
                            Defendants,
21
       Seoul Semiconductor Co., Ltd.,
22
                            Intervenor-Defendant.
23

24

25

26

27

28
     NOTICE OF APPEARANCE                                             Case No. 5:22-cv-04809-VKD
          Case 5:22-cv-04809-VKD Document 97 Filed 08/29/22 Page 2 of 3




 1          TO THE COURT, ALL PARTIES, AND ATTORNEYS OF RECORD:
 2          PLEASE TAKE NOTICE that John M. Desmarais of Desmarais LLP, 101 California Street,
 3   San Francisco, California, 94111, admitted to practice in this court, hereby appears for and on behalf
 4   of Defendant Samsung Electronics Co., Ltd.; and Defendant Samsung Electronics America, Inc.
 5          All pleadings, discovery, correspondence, and other material concerning the above should be
 6   served upon counsel at the address referenced above.
 7
       Dated: August 29, 2022                      /s/ John M. Desmarais
 8                                                 John M. Desmarais (CA SBN 320875)
                                                   DESMARAIS LLP
 9                                                 101 California Street
                                                   San Francisco, California 94111
10                                                 Tel: (415) 573-1900
                                                   Fax: (415) 573-1901
11                                                 jdesmarais@desmaraisllp.com
12                                                 Counsel for Defendants
                                                   Samsung Electronics Co., Ltd. and
13                                                 Samsung Electronics America, Inc.
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
            Case 5:22-cv-04809-VKD Document 97 Filed 08/29/22 Page 3 of 3



                                       CERTIFICATE OF SERVICE
 1

 2           I hereby certify that on this 29th day of August, 2022, I caused the foregoing document to be
 3   electronically filed with the Clerk of Court using the CM/ECF system. I further certify that on this
 4   date, I caused the foregoing document to be served on counsel for all parties of record at the addresses
 5   below by electronic mail, all of whom previously consented to electronic service in the transferor
 6   district.
 7   Joshua J. Bennett                                      Steven J. Wingard
     jbennett@carterarnett.com                              swingard@scottdoug.com
 8   Scott W. Breedlove                                     Stephen Burbank
     sbreedlove@carterarnett.com                            sburbank@scottdoug.com
 9   E. Leon Carter                                         Scott, Douglass & McConnico, L.L.P.
     lcarter@carterarnett.com                               303 Colorado Street, Suite 2400
10   Nathan I. Cox                                          Austin, TX 78701
     ncox@carterarnett.com
11   Theresa M. Dawson                                      Michael B. Eisenberg
     tdawson@carterarnett.com                               meisenberg@steptoe.com
12   Bradley David Liddle                                   Steptoe and Johnson LLP
     bliddle@carterarnett.com                               1114 Avenue of the Americas
13   Michael C. Pomeroy                                     New York, NY 10036
     mpomeroy@carterarnett.com
14   Daniel L. Schmid                                       Anna M. Targowska
     dschmid@carterarnett.com                               atargowska@steptoe.com
15   Carter Arnett PLLC                                     227 West Monroe Street, Suite 4700
     8150 N. Central Expressway, Suite 500                  Chicago, IL 60606
16   Dallas, TX 75206
                                                            Attorneys for Intervenor
17   Mark Stewart Raskin                                    Seoul Semiconductor Co., Ltd.
     mark.raskin@us.kwm.com
18   Charles Wizenfeld
     charles.wizenfeld@us.kwm.com
19   King & Wood Mallesons LLP
     500 Fifth Avenue, 50th Floor
20   New York, NY 10110
21   Erick Scott Robinson
     erobinson@cepiplaw.com
22   Collins Edmonds & Pogorzelski
     1616 S. Voss, Ste 125
23   Houston, TX 77057
24   Attorneys for Plaintiff
     LED Wafer Solutions LLC
25

26

27     Dated: August 29, 2022                       /s/ John M. Desmarais
                                                    John M. Desmarais (CA SBN 320875)
28
